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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §         NO. 4:17-CR-431
                                               §
STEPHEN LYNCH                                  §

                   DEFENDANT’S UNOPPOSED MOTION
             TO CONTINUE PRETRIAL CONFERENCE AND TRIAL

TO THE HONORABLE NANCY ATLAS:

       NOW COMES, STEPHEN LYNCH, Defendant, by and through his attorney,

Charles Flood, and files this Unopposed Motion to Continue Pretrial Conference and

Trial, saying for cause as follows:

       1.     Pursuant to this Court’s Orders (D.E. 30 and 33) Pre-Trial Conference is set

April 2, 2018 and Jury Selection and Trial is set April 16, 2018.

       2.     Counsel for Defendant and the government are actively discussing

resolution of this matter without the need for a trial. Defendant requests additional time

for the parties to finalize the plea agreement.

       3.     Counsel for Defendant is currently in trial in Case No. 4-17-CR-00116,

United States v. Stephen Stockman, before The Honorable Lee Rosenthal. This trial is

expected to last into the proposed trial date of this matter.

       4.     Attorney for the government Kimberly Leo is unopposed to this motion.




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       5.     This motion is not made for purposes of delay but solely to ensure the fair

administration of justice. Granting of this continuance outweighs the best interests of the

public and the defendant in a speedy trial.

       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that

this Court grant this motion and issue a new scheduling order.


                                                    Respectfully submitted,


                                                    /s/ Charles Flood
                                                    Charles Flood
                                                    Email: charles@floodandflood.com
                                                    Federal I.D. No. 22508
                                                    FLOOD & FLOOD
                                                    914 Preston at Main, Suite 800
                                                    Houston, TX 77002
                                                    (713) 223-8877
                                                    (713) 223-8879 fax

                                                    ATTORNEY FOR DEFENDANT



                         CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred with Assistant U.S. Attorney Kim Leo who is
unopposed to this request.

                                                    /s/ Charles Flood
                                                    Charles Flood




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                          CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2018, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system which will send notification
of such filing to all counsel of record.

                                               /s/ Charles Flood
                                               Charles Flood




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